                               UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF TENNESSEE
                                     AT CHATTANOOGA

 WINDY WATKINS,                                      )
                                                     )
                Petitioner,                          )
                                                     )
 v.                                                  )       Nos.    1:15-CV-352-CLC
                                                     )               1:03-CR-230-CLC-SKL-2
 UNITED STATES OF AMERICA,                           )
                                                     )
                Respondent.                          )


                                  MEMORANDUM OPINION

        Before the Court is Petitioner’s pro se motion to vacate, set aside, or correct her sentence

 pursuant to 28 U.S.C. § 2255 [Doc. 108]. Petitioner bases her request for relief on the recent

 United States Supreme Court case Johnson v. United States, 135 S. Ct. 2551 (2015), in which the

 Court held that the residual clause of the Armed Career Criminal Act (ACCA) was

 unconstitutionally vague [id.]. Respondent agrees Petitioner is entitled to relief [Doc. 110]. For

 the reasons stated below, the motion [Doc. 108] will be GRANTED.

 I.     BACKGROUND

        In 2002, Petitioner pleaded guilty to possessing a firearm as a felon, in violation of 18

 U.S.C. § 922(g)(1) [Doc. 53]. Based on her prior Tennessee convictions for escape [Presentence

 Investigation Report (“PSR”) ¶ 40], voluntary manslaughter [id. ¶ 47], and arson [id. ¶ 48],

 Petitioner was deemed an armed career criminal [id. ¶ 28] and sentenced to the mandatory

 minimum of 185 months of imprisonment followed by five years of supervised release [Doc. 71].

 The Sixth Circuit affirmed Petitioner’s conviction, armed career criminal designation, and

 sentence on appeal [Doc. 74], and the Supreme Court denied certiorari on February 26, 2007.

 See generally Watkins v. United States, 127 S. Ct. 1389 (2007).




Case 1:03-cr-00230-CLC-SKL          Document 112         Filed 12/30/15     Page 1 of 7      PageID
                                          #: 298
         On May 2, 2011, Petitioner filed the first of her two motions to vacate, set aside, or

 correct her sentence pursuant to 28 U.S.C. § 2255, in which she alleged that she had been

 improperly designated as an armed career criminal [Doc. 84]. The Court denied that motion as

 untimely [Docs. 85, 86]. Petitioner filed her second § 2255 petition on June 20, 2014, alleging

 that she had been improperly sentenced as an armed career criminal in light of Descamps v.

 United States, 133 S. Ct. 2276 (2013) [Doc. 99]. The Court transferred the latter motion to the

 Sixth Circuit based on the fact that it constituted a second or successive petition [Docs. 101,

 102].

         While Petitioner’s application for permission to file a successive petition was pending at

 the Sixth Circuit, the Supreme Court issued its decision in Johnson.             Petitioner requested

 permission to supplement her motion with a claim that her ACCA sentence was invalid under

 Johnson; the Sixth Circuit agreed, In re Watkins, No. 15-5038, slip. op. at *7 (6th Cir. Dec. 17,

 2015), granting Petitioner authority to file the petition currently before this Court [Doc. 108].

 The United States filed a response in support of Petitioner’s request for relief on December 28,

 2015 [Doc. 110].

 II.     TIMELINESS OF PETITION

         Section 2255(f) places a one-year statute of limitations on all petitions for collateral relief

 under § 2255, running from the later of:

         (1) the date on which the judgment of conviction becomes final; (2) the date on
         which the impediment to making a motion created by governmental action in
         violation of the Constitution or laws of the United States is removed, if the
         movant was prevented from making a motion by such governmental action; (3)
         the date on which the right asserted was initially recognized by the Supreme
         Court, if that right has been newly recognized by the Supreme Court and made
         retroactively applicable to cases on collateral review; or (4) the date on which the
         facts supporting the claim or claims presented could have been discovered
         through the exercise of due diligence.

                                                   2


Case 1:03-cr-00230-CLC-SKL            Document 112         Filed 12/30/15      Page 2 of 7      PageID
                                            #: 299
 28 U.S.C. § 2255(f). The Sixth Circuit decision in In re Watkins makes clear that claims based

 on the Supreme Court’s opinion in Johnson satisfy the third sub-category—assertion of a newly

 recognized right made retroactively applicable on collateral review—and thus trigger a renewed

 one-year statute of limitations running from the date of that decision, June 26, 2015. See No. 15-

 5038, slip op. at 9–10 (finding Johnson constitutes a new substantive rule of constitutional law

 made retroactively applicable on collateral review and thus triggers § 2255(h)(2)’s requirement

 for certifying a second petition). The current motion falls safely within the one-year period for

 filing a timely request for relief. See United States v. Mathur, 685 F.3d 396, 404 (4th Cir. 2012)

 (“[B]ecause of the interplay between [§§ 2255(h)(2) and 2255(f)(3)], an applicant who files a

 second or successive motion seeking to take advantage of a new rule of constitutional law will be

 time barred except in the rare case in which the Court announces a new rule of constitutional law

 and makes it retroactive within one year.” (quoting Dodd v. United States, 545 U.S. 353, 359–60

 (2005)).

                1.      STANDARD OF REVIEW AND ANALYSIS

        To obtain relief under 28 U.S.C. § 2255, a petitioner must demonstrate “(1) an error of

 constitutional magnitude; (2) a sentence imposed outside the statutory limits; or (3) an error of

 fact or law . . . so fundamental as to render the entire proceeding invalid.” Short v. United States,

 471 F.3d 686, 691 (6th Cir. 2006) (quoting Mallett v. United States, 334 F.3d 491, 496–97 (6th

 Cir. 2003)). He “must clear a significantly higher hurdle than would exist on direct appeal” and

 establish a “fundamental defect in the proceedings which necessarily results in a complete

 miscarriage of justice or an egregious error violative of due process.” Fair v. United States, 157

 F.3d 427, 430 (6th Cir. 1998).



                                                  3


Case 1:03-cr-00230-CLC-SKL           Document 112         Filed 12/30/15      Page 3 of 7     PageID
                                           #: 300
        Petitioner’s § 2255 motion relies on a single ground for collateral relief, claiming she is

 entitled to a reduction in sentence based on the Supreme Court’s decision in Johnson [Doc. 108

 pp. 6–10]. Specifically, Petitioner argues that she was improperly categorized as an armed

 career criminal under the residual clause of the ACCA and that Johnson’s subsequent

 invalidation of that provision necessarily entitles her to relief [id. at 10 (explaining her prior

 conviction for escape only qualifies as a “violent felony” under § 924(e)’s now-defunct residual

 clause)]. Respondent agrees that Petitioner is entitled to relief [Doc. 110].

 III.   ANALYSIS

        A felon who possesses a firearm normally faces a maximum penalty of ten years’

 imprisonment, 18 U.S.C. § 924(a)(2), and three years’ supervised release, 18 U.S.C.

 § 3583(b)(2). However, if the felon possesses the firearm after having sustained three prior

 convictions “for a violent felony or serious drug offense, or both,” the ACCA requires a fifteen-

 year minimum sentence, 18 U.S.C. § 924(e)(1), and increases the maximum supervised release

 term to five years, 18 U.S.C. § 3583(b)(1). The ACCA defines a “violent felony” as “any crime

 punishable by imprisonment for a term exceeding one year” that (1) “has as an element the use,

 attempted use, or threatened use of physical force against the person of another” (the “use-of-

 physical-force clause”); (2) “is burglary, arson, or extortion, [or] involves use of explosives” (the

 “enumerated-offense clause”); or (3) “otherwise involves conduct that presents a serious

 potential risk of physical injury to another” (the “residual clause”). 18 U.S.C. § 924(e)(2)(B).

        In Johnson, the Supreme Court held “that imposing an increased sentence under the

 residual clause of the [ACCA] violates the Constitution’s guarantee of due process.” 135 S. Ct.

 at 2563. Johnson did not automatically invalidate all ACCA sentences, however, emphasizing

 that its holding “d[id] not call into question application of the Act to the four enumerated

                                                  4


Case 1:03-cr-00230-CLC-SKL           Document 112         Filed 12/30/15      Page 4 of 7     PageID
                                           #: 301
 offenses, or the remainder of the Act’s definition of a violent felony.” Id.; see also United States

 v. Kemmerling, 612 F. App’x 373, 375 (6th Cir. 2015) (explicitly finding that Johnson did not

 affect the ACCA’s use-of-physical-force clause). Thus, under Johnson, an ACCA sentence only

 raises due process concerns—and is thus invalid—if it was necessarily based on predicate violent

 felonies that only qualified as such under the ACCA’s residual clause. Compare United States v.

 Ozier, 796 F.3d 597, 603 (6th Cir. 2015) (finding district court did not err by categorizing

 defendant as an armed career criminal where all three predicate offenses qualified under the

 enumerated-offense and use-of-physical-force clauses of the ACCA), with United States v. Bell,

 612 F. App’x 378, 379–380 (6th Cir. 2015) (finding Johnson precluded defendant from being

 sentenced as an armed career criminal because one of her three predicate offenses, aggravated

 assault, failed to qualify under the enumerated-offense and use-of-physical force clauses).

        One of Petitioner’s three predicate offenses was for escape in violation of former Tenn.

 Code Ann. § 39-5-706(a) [PSR ¶ 40], which prohibited “any person confined in a county

 workhouse or jail or city jail or municipal detention facility upon charge of or conviction of a

 criminal offense constituting a felony [from] escap[ing] or attempt[ing] to escape therefrom.”

 Tenn. Code Ann. § 39-5-706(a) (1989). The offense does not qualify as a violent felony under

 the ACCA’s use-of-force clause because it does not have as an element the use, attempted use, or

 threatened use of violent force against another, see United States v. Barnett, 540 F. App’x 532,

 536–37 (6th Cir. 2013) (citing Descamps and explaining a statute only meets the first

 subcategory of violent felony under the ACCA where violations categorically require the use or

 attempted use of violent physical force), and does not fall within one of the provision’s

 enumerated categories of violent felonies. Because the conviction could only qualify as a violent

 felony under the ACCA’s residual clause, see United States v. Harris, 165 F.3d 1062, 1068 (6th

                                                  5


Case 1:03-cr-00230-CLC-SKL           Document 112        Filed 12/30/15      Page 5 of 7       PageID
                                           #: 302
 Cir. 1999) (holding that a 1988 conviction for violating former Tenn. Code Ann. § 39-5-706 was

 a crime of violence under the residual clause in the Guidelines), the Johnson decision dictates

 that it can no longer be used to designate Petitioner an armed career criminal. As a result,

 Petitioner’s sentence of a 185-month term of imprisonment and five years’ supervised release

 [Doc. 71] exceeds her maximum authorized sentence as a non-ACCA offender under § 922(g)(1)

 by 65 months’ incarceration and two years’ supervised release. See 18 U.S.C. § 924(a)(1)(D)(2)

 (“Whoever knowingly violates subsection . . . (g) . . . of section 922 shall be . . . imprisoned not

 more than 10 years.”). The Court finds that she has demonstrated a clear entitlement to relief.

         Where a § 2255 claim has merit, district courts have the discretion to choose between

 discharging the petitioner, resentencing the petitioner, correcting the petitioner’s sentence, or

 granting the petitioner a new trial. 28 U.S.C. § 2255(b). For purposes of the current case, the

 Court finds correction of Petitioner’s sentence to be the most appropriate form of relief. United

 States v. Torres-Otero, 232 F.3d 24, 30 (1st Cir. 2000) (“[I]n cases were the sentence (but not the

 conviction) is infirm, only the ‘resentenc[ing]’ or ‘correct[ing] the sentence’ options are open to

 the district court, since a prisoner should never be ‘discharge[d]’ or ‘grant[ed] a new trial’ based

 solely on a defective sentence.”).

 IV. CONCLUSION

        Petitioner has already served 140 months in prison, has more than eighteen months of

 prior jail credit, and has earned approximately fourteen months of good-time credit [Doc. 110], a

 total exceeding the ten-year custodial statutory maximum applicable to her post-Johnson. As a

 result, her motion [Doc. 108] will be GRANTED and her term of imprisonment will be reduced

 to time served. Further, the judgment dated November 4, 2005 [Doc. 71] will be AMENDED to



                                                  6


Case 1:03-cr-00230-CLC-SKL            Document 112       Filed 12/30/15      Page 6 of 7     PageID
                                            #: 303
 reflect a term of supervised release of three years. The order will take effect ten (10) days from

 its entry to give the Bureau of Prisons time to process Petitioner’s release.

        AN APPROPRIATE ORDER WILL ENTER.



                                                       /s/
                                                       CURTIS L. COLLIER
                                                       UNITED STATES DISTRICT JUDGE




                                                   7


Case 1:03-cr-00230-CLC-SKL           Document 112         Filed 12/30/15         Page 7 of 7   PageID
                                           #: 304
